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             EXHIBIT A
       Case 4:09-cv-00101-WTM-GRS Document 1-3 Filed 06/09/09 Page 2 of 8

(1
 1                                D UFFY & FEEMSTER, L. L. C.
                                          ATTORNEYS AT LAW
                                           Marshall Row Law Offices
I                                         236 East Oglethorpe Avenue



 1        ROBERT J. OUFFY (1922-2005)
                                           Savannah, Georgia 31401
                                                                        STANLEY E. HARRIS, JR.
                                                                        Of Counsel




 1
         DWIGHT T. FEEMSTER
         MATTHWW. BUSH                                                  REPLY TO:
         JOHN R. STROTHER, 111                                          PO. BOX 10144
         WILLIAM L. NORSE, JR.                                          SAVANNAH, GA 31412
                                                                        TELEPHONE: 912-236-6311




 1
                                                                        FACSIMILE: 912-236-7641
                                                                                   912-238-4200
                                                                        E-Mad: dwightiduffy(eemster.com




 1                                           October 14, 2008




 1       CERTJFJED/RETU1N RECEIPT

         7007 2560 0001 3388 1838                     7007 2560 0001 3388 1869

-1       Ms. Patricia Loberg
         Third-Party Administrator for
         SABIC Innovative Plastics, US LLC
          . 0. Box 14454
         Lexington, Kentucky 40512-4454
                                                      Ace American Insurance Company
                                                      436 Walnut Street
                                                      P. 0. Box 1000
                                                      Philadelphia, Pennsylvania 19105-3703


         RE: Our Client:                      Lynn Townsend, Individually and as
                                              Executrix of the Estate of Robert P. Townsend
                  D/L:                        05/31/08

1                 Your Insured:
                  Your File No.:
                                              SABIC Innovative Plastics US LLC
                                              A82110 3695-000l--ol (Robert Townsend)
                                              AXXXXXXXX-0002-01 (Lynn Townsend)

1                 Ace Amer. Policy No.;
                  Our File No.:
                                              1SAH08237013
                                              10455

                                        SETTLEMENT DEMAND
1        Dear Ms. Loberg:

                This letter and accompanying documentation constitutes a settlement
I        demand. Accordingly, without the consent of my client, none of the information

1        contained herein shall be introduced into evidence in any trial between the
         parties in regard to the above referenced matter unless the same is
         admissible.

F                 Enclosed with this letter are the following:


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1
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1                      1.      Georgia Uniform Motor Vehicle Accident Report number

1                     2.
                               080531169 and supplement thereto;

                               GBI Toxicology Report for Robert P. Townsend and Sandra

1                     3.
                               Bunton;

                               My letter to Bob Wellman of JU1y21, 2008;
1                     4.       My letter to you of August 13, 2008;

                      5.       Your coverage information for policy number
                               ISAH08237013;

1                     6.       A copy of the alleged rejection of Uninsured Motorist
                               coverage on policy number ISAH08237013;

 1                    7.       Certified copy of Letters Testamentary for Lynn Townsend in
                               Estate of Robert P. Townsend;

 1                    8.       General Electric employment evaluation of Robert P.
                               Townsend;

 1                    9.       An economic analysis of lost earning capacity and household
                               contribution of Robert P. Townsend;

 1                   10.       Tax returns of Robert P. Townsend and Lynn Townsend
                               from 2003 to 2007;

 1                   11.

                     12.
                               Medical records and medical bills of Lynn Townsend;

                               Mercury Insurance Coverage information and policies;
 1                   13.       Settlement demand to Mercury Insurance Company; -

 1                   14.       Allstate Insurance Company declarations regarding
                               coverage;

 1                   15.

                     16.
                               • copy of the funeral bill; and

                               • compact disc containing photos from the accident scene.
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 I                                          INCIDENT

                On May 31, 2008 my client Lynn Townsend and her husband, Robert


I        Townsend were heading to Love's Seafood Restaurant located on GA Highway 17
         near King's Ferry. Mr. Townsend was driving. Mrs. Townsend was in the front
         passenger seat. They were riding in a 2008 Chevrolet Impala. It was a company


 I       bar but this was not a business trip. SABIC, LLC, Mr. Townsend's employer, has
         claimed ownership of the vehicle. Another couple was in the back seat (neighbors
         of the Townsends). The Townsends were traveling south on Highway 17


 I       approaching the intersection with Silk Hope Road. They were in the left lane of
         the southbound traffic, which has two lanes. At the same time Sandra Bunton



I
         was traveling North on Highway 17 approaching the same intersection. She
         apparently had just ingested a large quantity of cocaine as her toxicology revealed
         a positive result for a large quantity of cocaine and a crack pipe was found in her



I
         car. She had withdrawn $2000 from her husband's checking account that
         morning and no evidence of that money was found after the collision. Sandra
         Bunton turned across the southbound traffic at the last second directly into the



I
         lane of travel of the Townsends. Robert Townsend attempted to stop but was
         unable to avoid the collision. As a result of the collision Robert Townsend was
         killed. Sandra Bunton was also killed. Lyn Townsend suffered injuries, was



I
         hospitalized and incurred more than $20,000.00 in medical bills.

                                           COVERAGE

              Allstate Insurance Company has primary liability coverage on the vehicle of
        thedecedent Sandra Bunton of $25,000 per person and $o,000 per occurrence.



I
        That policy number is 00915278034. The claim number is 0113195555. The
        adjuster for Allstate is Kimberly Holiman. Her phone number is (770) 552-5180.




I
              Mercury Insurance Company claims to have 100/300 coverage on the
        uninsured motorist coverage for the personal automobiles of Robert and Lynn
        Townsend. The adjuster is Derrick Bayer. That policy number is CS00Z365-14.


I
        Mr. Townsend's policy number is GA-o1o66339. Mr. Bayer's telephone number
        is (770) 552-5180.



I
                Ace American Insurance Company provided liability coverage on the 2008
        Chevrolet Impala, which was involved in the accident on May 31, 2008. The
        policy number is ISAH082371013. The policy provided $3,000,000.00 worth of


I
        liability coverage and the declarations page has indicated that the uninsured or
        underinsured motorist coverage was "statutory." The Chevrolet Impala was and
        housed in the State of Georgia. Georgia law requires that Ace American


I
        Insurance Company provide the insured the option of purchasing UM coverage




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I
 I       ($3,000,000.00). O.C.G.A. §33-7-11(a)(1)(B).

                 You have produced for us a document which purports to be a rejection of


 U       the UM coverage signed by an individual whose name is not legible. The
         document does not indicate who he or she is or what he or she does, or whether
         he or she is employed by the insured, or anybody else. We have asked counsel for


 I       SABIC for the name and position of the individual who supposedly signed the
         rejection and we have not been provided that information. Accordingly, the
         rejection has not been signed by the "named insured" as required by Georgia law.


 I       O.C.G.A. §33-7-I1(a)(3). Accordingly, the rejection of the UM coverage is invalid
         and the default position is that Ace American Insurance Company is required to
         provide at least $3,000,000.00 worth of UM coverage on this policy, assuming


I        there is no other additional liability coverage or a valid election for l.JM coverage
         less than any additional coverage.



I                I have asked SABIC and you for a copy of insurance policy number
         ISAHO8237013, a copy of the application for this policy and any secondary
         umbrella policy/policies and application for those policy/policies. We also would


I        request any valid election/rejections of UM coverage in relation to additional
         liability coverage. I have yet to receive the applications or the policies requested.
         Please forward those to me as soon as possible. My client is entitled to this


I        information under Georgia law.

                                            LIABILITY


I           The liability in this case is as clear as a bell. I doubt that I have ever seen a
        case where the liability was so abundantly clear. It is clear that Mrs. Bunton


I       failed to yield the right-of-way while turning left into the path of the automobile
        occupied by my client and her deceased husband. The police officer found a
        crack pipe in her automobile. Also enclosed is the toxicology report showing that

I       Mrs. Bunton had excessive amounts of cocaine in her system at the time of the
        accident.



D                                           DAMAGES

               The damages in this case are staggering. Mr. Townsend is deceased. He

I       was employed in a very responsible position with SABIC, LLC. He previously was
        employed by General Electric in the plastics division. SABIC had recently


Li
        purchased this plastics division from General Electric. Mr. Townsend had been a
        valued employee of General Electric before the purchase of by SABIC. He had a
        very bright future and was in line for a Global Management Position with SABIC
        as can be seen from the Performance Evaluation of Mr. Townsend. The lost

I       future earnings and value of services resulting from the death of Robert P.



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 1
 I             Townsend exceeds 2,700,000.00. Furthermore, Mr. Townsend had previously
               been employed with DuPont and was vested for a pension plan, which would
               have paid him $2,700.00 per month at retirement until his death. Mrs.
               Townsend was forced to elect to begin receiving $400.00 per month from that
' plan at the present time due to her sudden economic needs due to the untimely
               death of her husband. She and Mr. Townsend could have waited and received


I              $2,700.00 per month at his retirement. Also, Mr. Townsend would soon have
               been in a Global Management Position as per the enclosed evaluation. His
               anticipated increase in salary is included in the analysis as is his anticipated

I              pension with that new position which would have paid him $6o,000.00 per year
               upon retirement. Also, Mrs. Townsend's loss of the relationship with her
               husband has an incredible value.

                      Also, Mrs. Townsend was in the vehicle with Mr. Townsend at the time of
I              his violent death. Therefore, she has a claim for emotional pain and suffering

I              associated not only with her own injuries but also for the emotional distress she
               suffered in witnessing the injuries and death inflicted upon her husband. See,
               Lee v. State Farm, 272 Ga. 583 (2000).

1                    Mrs. Townsend's own medical bills are in excess of $20,000.00 and she
               continues to incur medical bills and therapy. The funeral bill exceeded

1              $7,000-00.
                     Mrs. Townsend has had a tremendous change in her life. She has gone

1             from being a wife, married to an individual earning in excess of six figures a year
              with a fantastic future (as can be seen from the enclosed report from General
              Electric) to a widow making $30,000.00 a year.

1                               STACKING AND PRIMARY COVERAGE


1                    Mrs. Townsend is allowed to stack the available UM coverage. O.C.G.A.
              §33-7-11(b)(1)(D)(ii).


1                     Under the Georgia "payment of premiums test," it appears that the
              Mercury Insurance has primary UM coverage. Much like this situation,
              Insurance Group has failed to obtain a rejection of UM coverage equal to its
              umbrella coverage as required by Abrahams v. Atlantic Mutual Insurance
1             Company. 282 Ga. App. 176 (2006). They have $1,000,000.00 worth of
              umbrella coverage and we have demanded the policy limits. However, there is
              earlier election under the automobile policy for UM coverage of 100/300 signed
1             by Mr. Townsend. Our position at this time is that the election does not relate to
              the umbrella policy because the umbrella policy makes no provisions for UM

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1       coverage as required by Abrahams v. Atlantic Mutual Insurance Company, supra.

1       Mercury Insurance Group has not yet responded to our



I              Even assuming the Mercury Insurance Group has $i 3 O0o,00o.00 worth of
        UM coverage, my client's claim well exceeds the $1,000,000.00 as you can see
        from the above referenced economic analysis and the enclosed documents.

               Given the circumstances of the case, the economic loss of 27 million
I       dollars, the pain and suffering involved on behalf of the Estate of Robert P.


I       Townsend, the fact that Mrs. Townsend has a claim associated with the mental
        pain and suffering for her injuries but also for the emotional distress she suffered
        in witnessing the injuries and death inflicted upon her husband, the claim is well
        worth your policy limits also.

                                              *Ir-wIi
                 Therefore, demand is made upon Ace American Insurance Company for
        $3,000,000.00 under policy number 1SAH08237013 to settle all claims against
       Ace American Insurance Company. However, this demand is subject to and
       requires a sworn affidavit from the appropriate employees of SABIC, LLC and
       Ace American Insurance Company that: (i) there is no other liability policy which
       would provide insurance coverage for the vehicle in question, whether it be an
       primatry,umbrella or other secondary policy; and (2) that if such policy or
       policies do exist, there is a valid rejection of any UM coverage under that policy.


1      The settlement would be expressly conditioned upon that warranty and
       representation.



1                                         BAD FAITH

               If you refuse to pay the demand amount within 6o days of the receipt of

1      this let-ter it will be prima facia evidence of your bad faith and my client will
       proceed to take a judgment against the defendant. My client is in the process of
       petitioning the Probate Court of Liberty County to appoint the '-cbüflty'.

1      administrator as Administrator of the Estate of Sandra Delores Bunton. As such,
       he would be the defendant in the case. Any judgment in excess of the
       $i,000,000.00 up to $4,000,000.00 will result in a penalty of 25 percent of any

1      such amount (which could be $75o,000.00) plus attorney's fees (which could be
       $i,000,000.00 under a contingency fee agreement of 33 percent), and expenses
       of litigation. Your client is looking at an increase in exposure of $1,75o,000.00

1      plus expenses of litigation. Ace American Insurance Company can settle this case
       in good faith for $3,000,000.00 or risk paying an additional $1.75 million plus
       expenses of litigation for itself and Mrs. Townsend. See O.C.G.A. §33-7-110).

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1                Please be governed accordingly.

1                1 remain,


1                                                  Restfully yours,



1                                                  Dwight T. em er
                                                   For the Firm
1       DTF/baw
        Enclosures
        C:    Mrs. Lynn Townsend w/o enc.
1             John McKinley, Esq.



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